Case 2:19-cv-05797-DSF-JC Document 1-1 Filed 07/03/19 Page 1of30 Page ID#:7

EXHIBIT "A"

 

 
Ca :19-cv- -
se 2:19-cv-05797-DSF-JC Document 1-1 Filed 07/03/19 Page 2 of 30 Page ID #:8

e ry 2
~ | .
Electronically FILED by Superior Court of California, County of Los Angeles on 05/15/2043, a7 PM Pgn R. Carter, Executive Offleer/Clerk of Court, by N, Alvarez, Oeputy Clerk
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Woo

 

SUM-100
SU MMONS FOR COURT USE ONLY
(CITACION JUDICIAL) (SOLO PARA US0 OFLA CORTS
NOTICE TO DEFENDANT: Target Corporation; and Does 1 to 10
(AVISO AL. DEMANDADO):

YOU ARE BEING SUED BY PLAINTIFF: John Retamosa ttl
(Lo &STA DEMANDANDO EL DEMANDANTE):

 

 

below.

may ba taken without further warning from the court.

continuadén.

podré quitar su sueldo, dinero y biones sin més advertencia.

 

pager ef gravamen de fa core antes da que fa corte pueda desechar el caso,

NOTICE! Yau have been sued. The caurt may deckde against you without your being heard unless you raspond within 30 days, Read the Information

You have 30 CALENDAR DAYS after thls eummons and legal papers are served on you to Iie a wilten rasponse at this court and have a copy
served on the platnUff, A fetter or phone call will not protect you. Your walten response must be In proper legal form if you want the court fo hear your
cage. There may be a court form that you can use (or your response, You can find these court forms and more Information at the Callfernta Cours
Online Self-Help Center (www.courtinfo.ca.gov/selthelp), your county law ilbrary, or the courthouse nearest you. Ifyou cannot pay the filing fee, ask
the court clerk for a fee watvar form. {f you do nat file your response on time, you may lose the case by default, and your wages, money,

There aro other togal requirements, You may want to call an atlomoy right away. if you do not know an attorney, you may want to call an allorney
referral cervice. ifyou cannot alford an attomey, you may bo eligible for free tegal services from a nonprofit legal services program. You ¢an locate
these nonprofil groups at the California Legal Services Web site (wanw.lawhelpcalifomia.org), the Callfornla Courts Online Self-Help Center
(vaww.courtinfa.ca.gov/salihalp), or by contacting your local court or county bar association. NOTE: The court has ¢ statutory (len for watved feea and
costs on any, aettiement or arbltration award of $10,000 or more in a civil case. The court's lien must be pald before the court will dismiss the case.
jAVISO! Lo han demandado, Sino responds dentro do 30 dfas, la corte puede decidir en su contra sin ascuchar su versién, Lea Ja informacién @

Tlene 30 DIAS DE CALENDARIO después de qué te entreguen esta citadién y pepelas legales para presentar una respuesta por aserilo en asta
corte y hecar que se sntrague une copia af demandanta. Una carta o una Hamada telefénica ao to protegen. Su raspuesta por asarfo ene que estar
en formato legal corracto s/ desea que pracesen su oaso 8n la corte, Es posible que haya ua formularlo que usted pueda usar pare su respuesta.
Puede encontrar estos formularios de 1a corte y més informacion en el Ceniro de Ayuda de las Cortes da Calffomla eucorte.ca.gov), an le
biblioteca de leyes de su condsdo 0 en Ja carte que le quede mas cerca. SI no puede pagar ia cuota de prasentadén, pida al secrotarta do fa corte
que le dé un formulario de exencién de pago do cuotes, Si no presenta su respuesta a deampo, puede parder af cso por incumpiimlenta y ta corte fa

Hay otros requisltos fegales, Es recomendabie que flame a un abogado inmediatamente. Sino conece @ un abogado, puede flamer @ un servicio de
remisién a abogados, Si no puede pagar a un abogado, es pasibla que cumple con las requisites para obtener servicios legates gratultos de un
programa de servicios legates sin fines da lucro. Puede encontrar estos grupos sin fines de lucro en el sito web de Coallfornia Legal Services,

(aww tawhelpeallfomta.org), en ef Centro de Ayuda de las Cortes de Callformie, (www.sucorte.ca.gov) 0 ponléndose en contacts con la corte o a!
colegio do abogados Jocales. AVISO: Por tay, (a corte lone deracho a reclemar las cuoles y [os costes exentas por imponer un grevamen sobre
cuniquier recuperacién de $10,000 6 mds do valor racibide mediante un acuerdo 0 una concasién de arbitreje an un Ges0 de deracho alvi. Tene que

and property

 

 

 

 

The name and address of the court ie: CASE NUMBER:
(El nomare y direcci6n de /a corte es): (NUmero del Casa):
Superior Court of California, County of Los Angeles 149STCY16929

411 North Hill Street

Los Angeles, California 90012
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, Is:

(El nombre, la direcci6n y ef numero de taléfono del abogado dei demandante, o def demandante que no tlane abogado, 9s):
Law Offices of S. Henslee Smith Sherri R. Carter Executive Officer! Clerk of Co
7 ug, 4)730-0220

1578 North Batavia Street, Orange, California 9286

 

 

 

 

DATE: Clerk, by , Oeputy
(Fecha) 05/15/2019 - (Sacretario) Nancy Alvarez (Adfunto)
(For proof of service ofthis summons, use Proot of Service of Summons (form POS-070).)
(Para prueba de entrege de esta citati4n use ef formulario Proof of Service of Summons, (POS-—010)).
NOTICE TO THE PERSON SERVED: You are served
| (SEAL) PENT 4; [(_) as an Individual defendant.
2.) as the person sued under the fictitious name of (specify): iL
Aawoer Caepoan
4, 4) on behalf of (specify): Os
under: CCP 416,10 (corporation) CCP 416.60 (minor)
CCP 416.20 (defunct corporation) CCP 418.70 (conservatee)
(.] cep 416,40 (association or partnership) ("_] CCP 416.90 (authorized parson)
(] other (specify):

 

 

 

4, (] by personal delivery on (date):

Form Adopted for Mandatory Use SUMMONS
dudicdal Coundil of Celfomis
SUM-100 [Rav. duly 1, 2008)

6-10-2019 000261831G0001

Pago tort

Cade of CM Procadure §§ 412.20, 485
warw.courtinta,

ca.gov

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Electronically FILED by Superior Court of California, County of Los Angeles on 05/1 572048, 03:47 PM Sherd R. Carter, Executive Officar/Clerk of Court, by N. Alvarez Deputy Clerk
19STCV16929

Assigned for all purposes to: Spring Stredt Courthouse, Judicial Officer: Laura Seigie

 

. PLD-PI-001
ATTORNEY OR PARTY WITHOUT ATTORNEY (Namo, State Garaumber, and 6 ont):
Taw Offices of S. Aensiee Smith ‘= SBN: 75060 ron count useoue
S. Henslee Smith
4578 North Batavia Street
Orange, California 92867
reeprone xo:(7 14)730-0220 _ BAXNO, (Opsanag: (714) 832-6009

E-MAIL ADDRESS (Oploner- SHS@shslawoffices.com
ATTORNEY FOR (MmexsOHN Retamosa Iii
SUPERIOR COURT OF CALIFORNIA, COUNTY orfLOS ANGELES
atreer aporess:1 11 North Hill Street
maruno aooress:1 11 North Hill Street
arvano ze cous:Los Angeles, 80012
erancrname:Stanley Mosk Courthouse

PLAINTIFF. John Retamosa Iil

 

 

 

DEFENDANT: Target Corporation; and

DOES 1 TO 10
GOMPLAINT—Personal Injury, Property Damage, Wrongful Death
((7] AMENDED (Number):
Type (chack all that apply):
(] MOTOR VEHICLE ((X] OTHER (specify):
(__] Property Oamage [C7] Wrongful Death
CX] Personal injury {___] Other Damages (specify):
Jurisdiction (check afl that apply):
[7] ACTION IS A LIMITED CIVIL CASE
Amount demanded [__] does not exceed $10,000
exceeds $10,000, but doas not exceed $25,000
ACTION IS AN UNLIMITED CIVIL CASE (exceads $25,000)
(__] ACTION {S RECLASSIFIED by this amended complaint
(] from IImited to-untimited
[[_] from untimited to limited

4, Plaintiff (name or names): John Retamosa tl
alleges causes of action agalnst dafandant (name or names): Target Corporation; and Does 4 to 10

 

 

CASE NUMBER:

19STCVY16929

 

 

 

 

2. This pleading, including attachments and exhibits, consists of tha following number of pages:

3. Each plaintiff named above ts a competent adull

a. (C_] except plaintiff (name):
(1) [_) a corporation qualified to do business In California

(2) [_] an unincorporated entity (describe):

(3) (__] a public entty (describe):

(4) (] aminor [_] an adult
{a) ([_] for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
(b) ((_] other (specify): .

(8) ([_] other (specify):

b. [C_] excent plaintiff (nama):

(1) [} a corporation qualified to do businass In California

(2) [__) an unincorporated entity (dascriba):

(3) [_] a public entity (describe):

(4) [_] amlnor (—] an adult

 

 

 

 

° (a) [[_] for whom a guardian or conservator of the estate or a guardian ad [item has been appointed
-~ (b) (7) other (specify):
(5) (7) other (specify): .
(J information about additional plaintiffs who are not compatent adults Is shown In Attachment 3, pogo tof
Farm Approved (ot Ola . COMPLAINT—Personal Injury, Property Code of GMA Procsdume, § 18
PA.O-PI-001 (Rov. January 5, 2007] Damage, Wrongful Death Westlaw Doe & Form Bullitem

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PLO-PI-001

 

SHORT TITLE: Retamosa vs. Target

CASE NUMBER:

 

 

 

4, ([_] Plainuit (name):

is doing business under the fictitious name (specify):

and has complied with the fictittous business name laws.

5. Each defendant named above Is a natural person

PLO-PI-O01 (Rev, January 1, 2007]

a, [X] except defendant (name):Target Corporation
(1) ([7] a business organization, form unknown

(2) a corporation .
(3) ([_] an unincorporated entity (describe):

(4) (_] a public entity (deseribe):

(5) [7] other (specify):

" b, (7X'] except defendant (name):Does 7 to 10
(1) (0) a business organization, form unknown
(2) [-_] a corporation

(3) ([__] an unincorporated entity (describe):
(4) (2) a public ently (describe):

(5) (C_) other (specify):

[_] Information about additlonal defendants who are not natu

‘The true names of defendants sued as Does ara unknown to plaintiff.

a. (X] One defendants (specify Doe numbers):

{ie10
named defendants and acted within the scope of that agenay or employment.

c. ((_] except defendant (name):

(1) [2] a business organization, form unknown
(2) [] a comoration

(3) [_] an unincorporated entity (describe):
(4) (7) a public entity (desartbe):

(5) (] other (specify):

d. cI excopt defendant (name):

(1) (_) a business organization, form unknown
(2) [£7] a carparatian

(3) [C_] an unincorporated entity (describe):
(4) (Jj 8 public entity (describe):

(5) (J other (specify):

rat persons Is contained in Attachment 5,

ware the agants ar employees of other

b. ((X] Doe defendants (specify Doe numbers): to 49 are persons whose capacilies are unknown to

plaintiff.

[__] Defendants who are Joined under Code of Civil Procedure sectla

This court is the proper court because

©

ao &

. (7) other (specify):

[__] Plant is required to comply with a claims statute, and
a. [-_J has complied with applicable claims statutes, or

b. [C7] is excused from complying because (specify):

. () atleast ons defendant now resides In Its judadictional area.
. 1] the principal place of business of a defendant carporation or unincorporated assoclatton Is In Its juriadictional area.

. [] Injury to person or damage to personal property occurred tn Its Jurisdictional area.

n 382 are (names):

 

COMPLAINT—Personal Injury, Praperty Page zofs

Damage, Wrongful Death

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6-10-2019

PLD-PI-001

 

SHORT TITLE: _Retamosa vs. Target ASE NUMBER:

 

 

 

 

10. The fallowing causes of actlon are attached and the statements above apply to each (each complaint must have one or mare
causes of action attached):
a, [(__] Motor Vehicle
b. (__] General Negligence
c. [7] Intentional Tort
d. [J Products Liability
e. (XJ Premises Llabliity
{. ((] Other (specify):

41, Plaintiff has suffered
. wage fosa
. £7] toss of use of property
. EE) hospitat and medical expenses
. general damage
. (_] property damage
(GC) loss of eaming capacity
. (_} othar damage (specify):

oo f

onmoa

12, ((_] The damages claimed for wrongful death and the relationships of plaintiff to the deceased are
a, [__] listed In Attachment 12,
b. (J as follows:

13; The reffef sought In this compiaint Is within the jurisdiction of this court.

44, Platntlff prays for judgment for costs of sult: far such rellef as fs falr, just, and equitable; and far

a. (1) compensatory damages
(2) C__) punitive damages
The amount of damages Is (in cases for personal injury or wrongful death, you must check (4):

(1) (3C] according to proof
(2) (] In the amount of $

15. (7] The paragraphs of this complaint alleged on Information and ballef are as follow | ecity paragraph numbers):

Date:May 15, 2019

   

S. Henstee Smith

 

 

 

(TVPE OR PRINT NAME) ( (BIONATURE OF PLAINTIFF OR ATTORNEY}
PLO-PI-01 (Rev. January 1, 2007) COMPLAINT-—Persondl Injuly, Property Pago dots
‘ Damage, Wrongful Death ‘

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PLO-PL-O01(4)

 

 

 

 

 

SHORT TITLE: Retamosa vs. Target GASE NUMBER!
First CAUSE OF ACTION—Premises Liability Page 4
(number) .

ATTACHMENT TO (CX) Complaint [[—] Cross - Complaint
(Use a separate cause of action form for each cause of aclion.)

Pram.L-t, Plaintiff (name): John Retamosa fll
alleges the acts of defendants ware the legal (proximate) cause of damages to platnittf.
On (date): June 17, 20107 plaintitf was Injured on the following premises In the following
fashton (description of premises and circumstances of injury): On this date Plaintiff was a customer In
Defendant's retail store #72275 located at 1621 South Alameda Street, Compton,
California 90220 when he stepped on, slid and fell due to a banana left on the floor, a
condition known to Defendant's employee, who had notice and an adequate opportunity
to correct the condition but failed to do so.

Prem.L-2. (X} count One--Negligence The defendants who negligently owned, maintained, managed and
operated tho described premises were (names): Target Corporation; and

C2) does 4 to 10

- Prom.L-3. Count Two--Willtul Fallure to Warn [Civil Coda section 846} The defendant owners who willfully
or maliciously falled to guard or warn against a dangerous condition, use, structure, or activity were
(names): Target Corporation; and

CX) Does 1 to 10
Plaintiff, a recreational user, was an Invited guest () a paying guest.

Prem.t-4, (J Count Three—Dangeraus Condition of Public Property The defendants who owned public property
on which a dangerous condition existed were (names):

(Does to

a. (2) The defendant public entity had C_] actual (—] constructive notice of the extetence of the
dangerous condition In sutticlant time prior to the Injury to have corrected It.
b. (-_] The condition was created by employees of the defendant public entity.

Prem.L-5. a. Allegations about Other Defendants The defendants who were the agents and employecs of the
other defendants and acted within the scope of the agency were (names): Target Corporation; and

Does i to 40

bp. [_] The defendants who are llable to plaintltfs for other reasons and the reasons far thelr flabillty are
[77] described in attachment PremL-5.b [J as follows (names):

 

Pago tott

Form Approved for Opilona) Use — Gods of ChB Procedure, § 425.12
I iret at ol Gallons CAUSE OF ACTION—Premises Liability Procedure 9425.12
PLO-PHO01 (4) (Rev. January 1, 2007} Westlaw Doc & Form Bullder>

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Reserved for Clerk's Fde Stamp

SUPERIOR COURT OF CALIFORNIA

 

 

COUNTY OF LOS ANGELES
“GOURTHOUSE ADDRESS: FILED
Spring Street Courthouse Superior Cour of California
312 North Spring Street, Los Angeles, CA 90012 Oo County of Las Angalas
08/15/2019

Sham R Carta, Lxusstvo Ofer # ek af Cour

NOTICE OF CASE ASSIGNMENT
By: Nancy Alvarez pamty

UNLIMITED CIVIL CASE

 

& NUMBER:

 

 

Your case is assigned for all purposes to the judicial officer indicated below. | 19STCV16929

THIS FORM 18 TO BE SERVED WITH THE SUMMONS AND COMPLAINT
ASSIGNED JUDGE DEPT | ROOM [ie ASSIGNED JUDGE DEPT | ROOM
Y_ |LauraA. Seigle 4B ki | ‘

 

 

 

 

 

 

 

 

 

 

 

 

 

Given to the Plaintiff/Cross-Complainant/Attorney of Record Sherri R. Carter, Executive Officer / Clerk of Court

 

 

on 05/16/2019 By Nancy Alvarez __, Deputy Clerk
(Date)
LACIV 180 (Rev 6/18) NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06

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6-10-2019

 
6-10-2019

INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summ
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civit Procedure Section 170.6 must be made within 15 days after notice of assignment for al] purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

 

CROSS-COMPLAINTS
Without leave of court first being obtained, no eross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

 

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the

complaint. Counse! must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE

The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS

The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex

judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisignally Complex Cases

Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq,, it will be
randomly assigned to a complex judge at the designated complex courthouse. [f the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.

LACIV 190 (Rev 6/18) NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06

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* 2018+53-007-06

Suparlar Court & Caltfonva
county of LoslAngelas *

SUPERIOR COURT OF THE STATE OF CALIFORNIA APR 16 pote
Short AL Expo tive Oficot/Ctark
OR THE COUNTY OF LOS ANGELES je ae
F be Cee oe

 

 

 

a)
IN REPERSONAL INJURY ) CASENO.:
COURT (“PI COURT") PROCEDURES, )
CENTRAL DISTRICT ) STANDING ORDER RE: PERSONAL
(EFFECTIVE APRIL 16, 2018) ) INJURY PROCEDURES, CENTRAL
) DISTRICT
)
)
DEPARTMENT: 2 3 4 § 7
INAL FERENCE ("FSC"):
*® DATE; 10/28/20 AT 10:00 A.M.
TRIAL:
pare: 11/12/20 AT 8:30 A.M.
SC RE DISMISSAL (CODE CIV. PR 583.210):
pate: 05/11/22 AT 8:30 A.M.

 

 

 

TO EACH PARTY AND TO THE ATTORNEY OF RECORD FOR EACH PARTY:

Pursuant to the California Code of Civil Procedure (*C.C.P,"), the California Rules
of Court (°C.R.C.") and the Los Angeles County Court Rutes (4Local Rules"), the Los
Angeles Superior Court (*LASC" or “Court"}) HEREBY AMENDS AND SUPERSEDES
THE AUGUST 10,2017 SEVENTH AMENDED GENERAL ORDER AND, GENERALLY,
ORDERS AS FOLLOWS IN THIS AND ALL OTHER GENERAL JURISDICTION
PERSONAL INJURY ACTIONS FILED IN TRE CENTRAL DISTRICT.

Poge 1 of 8

 

 

Standing Order Re Personal Injury Procedures, Central District

 

6-10-2019

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Page 10 of 30 Page ID 16 a

2018-SJ-007-06

1. To ensure proper assignment to 4 PI Court, Pinintiff(s) must carefully fill out the Civil

1
2 || Case Cover Sheet Addendum (form LACIV 109). The Court defines “personal injury” as:
3 "an unlimited civil case described on the Civil Case Cover Sheet Addendum and
4 Statement of Location (LACIV 109) as Motor Vehicle-Personal Injury/Property”
Ss Damoge/Wrongfut Death; Personal Injury/Property Damage/Wrongful Death
6 Uninsured Motorist; Product Liability (other then asbesias or
7 toxidenvironmental); Medien! Malprsctice-Physicians & Surgeons; Other
8 Professionat Health Care Malpmuctice; Premises Liabitity, Intentional Bodily .
3 Injury/Propesty Damage/Wrongtul Death; or Other Personal Injury/Property
10 Damage/Wrongful Death. An action for intentional infliction of emotional
11 distress, defamation, civil rights/discrimination, or malpractice (other than
12 medical malpractice), is not included in this definition. An action for injury to
13 real property is not included in this GefiniGon.” (Local Rule 2.3(a}{!){A).)
14 Consistent with Local Rule 2.3(a)(1)(A), the Court will assign a case to the Fl Courts if
15 |[plointifffs) check ony of the following boxes in the Civil Case Caver Sheet Addendum:
16 A71100 Motor Vehicle ~ Personal Injury/Property Damage/Wrongful Death
v7 ATINO Personal Injury/Property Damage/Wrongful Death ~ Uninsured
18 Motorist
19 A7260 Product Liability (not asbestos or toxic/environmental)
20 A7210 Medical Malpractice - Physicians & Surgeons

n
ro
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A7240 Medical Malpractice -- Other Professional Health Care Malpractice

22 A7250 Premises Liability (e.g., slip end fall)

23 A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (cE,

24 assault, vandalism ete.)

25 A7220 Other Pesanal Injury/Property Damage/Wrongful Desth

26 _ The Court will not assign cases to the PL Courts if plainti f(s) check any boxes elsewhere
27 {Vim the Civil Case Cover Sheet Addendum (any boxes on pages two and three of thet form).

28 {i

Page 2 of 8

Standing Order Re Personal Injury Procedures, Central District

 

 

 

6-10-2019 000261831G0001 602019061001699€

 
6-10-2019

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NN BM RM NM BO HB HW PT mot
owt aw & YN FY OY oY mH Mm ea WwW N HY SO

The Court sets the above dates in this action in the P] Court circled above (Department
2,3, 4, 5, or 7) at the Spring Street Courthause, 312 North Spring Street, Las Angeles, CA 90012.
(C.R.C. Rules 3.714(b)(3), 3.729.)

FILING OF DOCUMENTS
| 2. Pasties may file documents in person at the filing window on the first floor of the Stanley

Mosk Courthouse (111 N. Hill Street, Los Angeles, CA 90012) o by.U.S. Mail or ¢-Delivery,

which is available online at woe /acouriore (link on homepage). Please note thot filings are no

longer accepted via facsimile and must be filed either in person, via U.S. mail or via e-Delivery.

Claims involving an attorney-client fee dispute, documents in which the fiting party is a minor,

{egally incompetent person, or person for whom 0 conservator has been appointed, requests to

waive court fees (FW-001) and requests for accommodations by persons with disabilities (MC-

410), may not be filed vie ¢-Delivery.

SERVICE OF SUMMONS AND COMPLAINT

3. Plaintiff(s) shal! serve the summons and complaint in this action upon defendant(s) as

soon os possible but no later than three years from the date when the complaint is filed.

| (C.C.P. § 583.210, subd(a).) On the OSC ve Dismissal date noted above, the Pf Court will
dismiss the ection and/or all unserved parties unless the plaintiffs) show couse why the action

or the unserved parties should not be dismissed. (C.C.P. §§ 583.250; 581, subd. {b}4).)

I“ The Court sets the above trial and FSC dates on condition that pleintifits) effectuate
service on defendant(s) of the summons and complaint within six months of filing the complaint

5. The Pi Court will dismiss the case without prejudice pursuant (o C.C.P. § 58t when no

purty appears for trial,

STIPULATIONS TO CONTINUE TRIAL

6. Provided that all parties agree (and there is no violelion of the “five-year rule," C.C.P.

§ 583.310), the parties may advance or contique any trial date in the Pl Courts without showing

 

 

pood cause or articulating any reason oF justification for the change. To continue or advance 8
trial date, the parties (or their counsel of recard) should jointly execute and submit (at the filing
window on the first floor of the Stanley Mosk Courthouse, via U.S. mail or via e-Delivery; fee

Page 3 of 8

2018-55~007-00

 

 

Standing Order Re Personal Injury Procedures, Central District

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19 Page 11 0f 30 Page ID #:17

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required) a Stipulation to Continuc Trial, FSC and Related Motion/Discovery Dates (farm
LACIV CTRL-242, available on the court’s website, Personal {njury Court link). The P! Courts
schedule FSCs for 10:00 a.m., eight (8) court days before the tial date, Parties seciing to
continue the trial and FSC dates shall fite the Stipulation ct least eight court days before the FSC
date, Parties seeking to advance the trial and FSC dates shall file the Stipulation at least eight
court days before the propased advanced FSC date. (C.C.P, § 595.2, Govi. Code § 70617, subd.
(c)(2).) In selecting a new trial date, parties should avoid selting on any Monday, or the Tucsday
following e court holiday. Parties may submit a maximum of two stipulations to continue trial,
for a total continuance of six months. Subsequent requests to continue trial will be granted upon
a showing of goad cause by noticed mation. This sule is retroactive so that any previously
granted stipulation to continue tial will count toward the moximum number of allowed
cantinuances, ,

NO CASE MANAGEMENT CONFERENCES

7. The Pl Courts do net conduct Case Management Conferences. The parties need not file
a Case Management Statement.

LAW AND MOTION

8. Any documents with declarations and/or exhibits must be tabbed. (C.R.C. Rule
3.4410(f).) All depositions excempts referenced io briefs must be marked on the transcripts
attached as exhibits. (C.R.C, Rule 3.1116(c).)

CHAMBERS COPIES REQUIRED ~

9, in addition to filing orginal motion papers al the filing window on the first floor of the
Stanley Mosk Courthouse, via U.S. mail or vin e-Delivery, the parties must deliver, directly to
the PI Court courtrooms al the Spring Street Courthouse, an extra copy (marked “Chambers:
Copy”) of reply briefs and all other motion papers filed less than seven (7) court days before a
hearing calendared in the P! Courts. ‘The PI Courts also strongly encourage the parties filing and
opposing lengthy motions, such ns motions for summary judgment/adjudication, to submit one

or more three-ring binders organizing the chambers copy behind tabs.

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Standing Order Re Personal Injury Procedures, Central District

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07/03/19 Page 12 of 30 Page ID #:18

 

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RESERVATION HEARING DATE

10. Parties are directed to reserve hearing dates for mations in the PI Courts using the Court
Reservation System (CRS) ovailable online at yur tacgurtorg (link on homepage). After
reserving a motion hearing date, the reservation requestor must submit the papers for filing with
the reservation receipt (CRS) number printed on the face page of the document under the ception
} and attach the reservation receipt as the last page. Parties or counsel who are unable lo ulilize
the online CRS may reserve a motion hearing date by calling the PI Court courtroom, Monday
through Friday, between 3:00 p.m. and 4:00 p.m.

WITHDRAWAL OF MOTIONS

11. California Rules of Conrt, Rule 3,.1304(b) requires a moving party to notify the court
immediately if.a matter will not be heard on the scheduled date. In keeping with that rule, the Pf
Courts urge parties who amend pleadings in response to demurrers to file amended picadings
before the date when opposition to the demurrer is due so that the PJ Courts do not needlessly
prepare tentative rulings on demurec:.

DISCOVERY MOTIONS

12, The purpose of on Informal Discovery Conference ("IDC") is to assist the parties to
resolve and/or narrow the scope of discovery dispulcs. Lend tris! counsel on each side, or another
attormey with full authority to make binding agreements, must attend in person, The PI judges
have found that, in nearly every case, the parties amicably resolve disputes with the assistance
of the Court.

13. Parties must participate in an IDC before a Motion to Compel Further Responses to
Discovery will be heard unless the moving party submits evidence, by way af declaration, that
the opposing party has failed or refused (0 participate in an IDC, Scheduling or participating in
an IOC does not aulomatically extend any deadlines imposed by the Code af Civil Procedure for
noticing and filing discovery motions. Ideally, he parties should participate in an IDC before a
motion is Giled because the IDC may avoid the necessity ofa mation or reduce its scope. Because
of that possibility, attomeys are encouraged to stipulete to extend the 45 (or 60) day deadline far

filing a motion to compel further discovery responses in order to allow time to participate in an

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Standing Order Re Personal Injury Procedures, Central District

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IDC.

If parties do not stipulote to extend the deadlines, the moving party may file the motion
to avold it being deemed untimely. However, the IDC must take place before the motion is
heard so it is suggested thet the maving party reserve 4 date for the motion hearing that is at Jeast
60 days after the date when the IDC reservation is made. Motions to Compel Further Discovery
Responses ore heard st 10:00 am. If the IDC is not productive, the moving party may advance
the hearing on a Molion to Compel Further Discovery Responses on any ovaitable hearing date
that complies with the notice requirements of the Code of Civil Procedure.
t4, Parties are directed to reserve IDC dates in the PI Courts using CRS available online at
ww Incourt.org (link on homepage). Parties ave to meet and confer regarding the available
dates in CRS prior fo accessing the system. Affer reserving the (DC date, the reservation
requestor must file in the appropriate department and serve on Informal Discovery Conference
Form for Personal Injury Courts, from LACTV 239 (revised 12/14 or later), at least 15 court days
prior fo the conference and attach the CRS reservation receipt as the last page, The opposing
party mey file and serve a responsive (DC form, briefly setting forth that party's response, at
lenat 10 court days prior to the IDC.
1S. Time permitting, the Pf Hub judges moy be available (o purticipate in IDCs lo iry to
resolve ather types of discovery disputes.

EX PARTE APPLICATIONS

16. Under the Califormin Rules of Court, courts may only grant ex parte relief upon a
showing, by admissible evidence, that the moving party will suffer “irreparable harm,”
“immediate danger,” or where the moving party identifies ‘a statulory basis for granting relief
ex parte.” (C.R.C. Rule 3,1202(c).) The Pl Courts have no enpacity to hear multiple ex parte
applications or to shorten time to add hearings to their fully booked motion calendars. The Pi
Courts do not regard the Court’s unavailability for timely motion hearings as en “immediate
danger” or threat of “irreparable harm” justifying ex parte relief. Instead of seeking ex parte
relief, the moving party should reserve the earliest available motion hearing date (even If it is
after the scheduled trial dale) and should file a motion io continue tris!. Parties should also check

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Standing Order Re Personal injury Procedures, Central District

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the Court Reservation Sysiem from time fo time because earlier hearing dates may become
available as cases setile or hearings are taken off calendar.
REQUEST FOR TRANSFER TO INDEPENDENT CALENDAR DEPARTMENT
7. Parties seeking to transfer o case from a PI Court to an independent Calendar ("YC")
Court shall file (at the filing window on the first floor of the Stanley Mosk Courthouse, via U.S,
mall or via e-Delivery) and serve the Court's "Motion to Trensfer Complicated Personal Injury
Case to Independent Calendur Court" (farm LACIV 238, available on the Couns website under
the P! Courts link), The Pf Courts will transfer a matter to an YC Court if the cose Js not 4
it “Personal Injury” case as defined in this Order, or if it is “complicated.” In determining whether
Q personal injury case is “complicated” the PI Courts will consider, among other things, the
number of pretrial hearings or the complexity of issues presented.

18. Pasties opposing a motion to transfer have five court doys to file (al the filing window
on the first floor af the Stanley Mosk Courthouse, via U.S. mail or via e-Delivery) an Opposition
(using the same LACIV 238 Motion to Transfer form). ;

19. The Pl Courts will nat conduct ¢ hearing on ony Motion to Transfer to YC Court,
Although the parties may stipulate to transfer a case to an Independent Calendar Department, the
Pi Courts will make an independent determination whether to transfer the case or not.
FONAL STATUS CONFERENCE

20, Parties shall comply with the requirements of the P? Courts’ “First Amended Standing
Order Re Final Status Conference," which shall be served with the summons and complaint.
JURY FEES ,
1/2). Pasties must pay jucy fees no later than 365 calendar days after the filing of the initial
complain (C. C. P, § 631, subds, (b) and (c).)

JURY TRIALS
22. The Pf Courts do not conduct jury trials. On the trial date, a PE Court will contact the

stir

Master Calendar Court, Department One, in the Stanley Mosk Courthouse. Department One
will assign cases out for trial to dedicated Civil Tris! Courtrooms and designated Criminal

Courtrooms.

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Standing Order Re Personal Injury Procedures, Central District

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SANCTIONS
3. The Court has discretion to impose sanctions for any vialation of this general order.

(C.C.P. §§ 128.7, 187 and Gov. Cade, § 68608, subd. (b).)

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Debre K. Weintraub
Supervising Judge of Civil Courts

 

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Los Angeles Superior Court

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- Standing Order Re Personal Injury Procedures, Central District

 

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SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES - CENTRAL DISTRICT

in re Personal Injury Cases Assigned FIRST SE STANDING ORDER -
RE: FINALS RENCE,

To the Personal Injury Courts TUS CONFE
Departments 2,3, 4-5 and 7 of the Spring ) PERSONAL INUMY Cory COURTS
(Geparements 2.2) 4 Sand 7 ofthe Spring | (effective as of Apri 18, 2048)

 

The dates for Trial and Fina! Status Conference (*FSC*) having been set in this matter, the
Court HEREBY AMENDS AND SUPERSEDES ITS JANUARY 2, 2016 STANDING
ORDER-RE: FINAL STATUS CONFERENCE, PERSONAL INJURY (“Pi") COURTS .
AND, GENERALLY, ORDERS AS FOLLOWS IN THIS AND ALL OTHER GENERAL
JURISDICTION PERSONAL INJURY ACTIONS:

1, PURPOSE OF THE FSC

The purpose of the FSC is to verify thal the partlesicounsel are completely ready to
proceed with trial continuously and efficianty, from day to day, until vardict. The Pl Courts
will verify at the FSC that all partiss/counsal have (1) prepared the Exhibit binders and Trial
Document binders and (2) met and conferred in an effort to stipulate to ultimate facts, fegal
issues, motions in (imine, and the authentication and admissibility of exhibits.

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FIRST AMENDED ORDER RE FINAL STATUS CONFERENCE, PERSONAL INJURY COURTS (Effaciive April 18, 2018)

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2 TRIAL DOCUMENTS TO BE FILED

_ Atleast five catendar days prior to the Final Status Conference, tha parties/counse!
shall serve and fils (in Room 102 of the Stanley Mosk Courthouse or by a-Delivary) the
folowing Tea) Readiness Oocuments:

A. TRIAL BRIEFS (OPTIONAL) .

Each party/counse! may file, but Is not required to file, a (ral brief succinctly
identifying: ,

(4) the claims and defenses subject (o litigallion;

(2) the major legal Issues (with supporting pointe and authorities);

(3) the relief claimed and calculation of damages sought; and
{4) any other Information that may assist the court al tral.

B. MOTIONS IN LININE .

Bafora filing motions in liming, the partles/counsel shall comply with the
statutory notice provisions of Cade of Civil Procedure ('C.C.P."} Section 1005 and the
requiraments of Los Angeles County Court Rule ("Local Rule”) 3.57(a). The caption of each

motion in limine shall concisely identify the evidence that the moving party sesks to
l preclude. Parties fillng more than one mation in imine shall number them consacuilvaly,
Parlles filing opposition and reply papers shall Identify the corresponding motion number In

 

 

the captlon of thelr papers.

C. JOINT STATEMENT TO BE READ TO THE JURY

For jury tats, the partlas/counsel shall work tagether to prepara and file a jolnl)
written statement of the case for the court to read to the Jury. Local Rule 3.25(gX{4).

_D, JOINT WETNESS LIST

The partles/counset shall work together to prepara and file a joint fist of all
witnesses In alphabetical order by last name that each party Intends to call (excluding
impeachment and rebuttal witnesses), Local Rula 3.25(g)5). The Joint winess Hst shall
identify each wittess by name, specify which witnesses are experts, and astimate the jangth

of the direct, cross examination and re-diract examination (if any) of each witness, The
Papa 20f5

 

 

 

 

FIRST AMENDED ORDER RE FINAL STATUS CONFERENCE, PERSONAL INJURY COURTS (Effective Apri 16, 2018)

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pariles/counsel shall Identify all potential witness scheduling issues and special
raquiraments. Any party/counsel who seeks lo elicit testimony from a witness not identified
on the witness fist must first make a showing of good cause to tha tral court,

E. LSTOF PROPOSED JURY INSTRUCTIONS

(JOINT AND CONTESTED)

The partles/counse!l shall Jointly prepare and file a list of proposed jury
instructions, organized in numerical order, specifying the Instructions upon which all sides
agree and the contested instructions, fany. The-List of Proposed Jury Instructions must
Include a space by each Instruction for the Judge to Indicate whether the Instruction was
given.

F. JURY INSTRUCTIONS

(JOINT AND CONTESTED)

The partles/counse! shall prepare a complete set of full-text proposed jury
instructions, editing all proposed Calfomla Civil Jury instrucilons (*CACI") and Insert party
name(s) and stimninate blanks and Irrelevant material, The parlies/counseal shall prepare
special Instructions In a format ready for submission to the fury with the instruction number,
Ulle, and text only (1.e., thare should be no boxes or other Indication on the printed
instruction (tself as to the raquesting party).

G. JOINT VERDICT FORM(S)

The parties/counsel shall prepare and joinlly file a proposed general verdict
fom or special verdict form (with interragatories) acceptable to all sides. Local Rule
3,25(g}8). {f the partlas/counsel cannot agree on a joint verdict farm, each party must
separately file a proposed verdict form.

H. JOINT EXHIBIT LIST

_ The parties/counsel shall prepare and file a foint exhibit list organized wilh
columns Identifying each exhibit and specifying each party's evidentiary objections, if any, to
admission of each exhibit. The parties/counsel shall meet and confer in an effort to resalve

objections to the admissibility of aach exhibit.
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FIRST AMENDED ORDER RE FINAL STATUS CONFERENCE, PERSONAL INJURY COURTS (Effecliva Apri 18, 2018)

 

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i. PAGE AND LINE DESIGNATION FOR

DEPOSITION AND FORMER TESTIMONY
if the partias/counsel Intend to use deposition testimony or former trial

testimony In tleu of any witness's live testimony, the parties/counsel shall meat and confer
and jointly prepare and file a chart with columns for each of the following: 1) the line and
page designations of the deposition or former testimony requested far use, 2) objectinns,
3) counter-designations, 4) any responses thereto, and §) the Court's ruling.

3. EVIDENTIARY EXHIBITS

Tha partles/counsel shall jointly prepare (and be ready to temporarily lodge for
Inspection al the FSC) threa sels of tabbed, Intemally paginated by document, and property- -
1! marked exhibits, organized numerically In three-ring binders (a sal for the Court, the Judicial
Asalstant and the witnesses). The partles/counsel shail mark all non-documentary exhibits
and insert a simple written description of the exhibit behind the corresponding numerical tab
Inthe exhibit binder. If the parties have a pint signed exhibit iist and electronic caples of
thelr respective exhibils, then the partlas/counsel will not ba required to praduce exhibit
binders at the FSC. However, the exhibit binders may be required by the assigned tral
Judge when the trial commences, In the absence of elther.a foini signed exhibit st or
electronic copies, exhibit binders will be required by all pariles/caunse! at the FSC.

4. . TRIAL BINDERS REQUIRED IN THE Pi COURTS

The partles/counsel shall jolntly prepare (and be ready to temporarily lodge and
include the following for Inspection at the FSC) the Trial Documents cansisting of conformed]
coples, tabbed and organized Into three-ring binders with a table of contenis thal Includes

the following:
Tab A: Trial Sriefs (Optional)
Tab B: Motions In Limina
Tab C; Joint Statement to Be Read to the Jury”

Tab D: Joint Winess List

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FIRST AMENDED ORDER RE FINAL STATUS CONFERENCE, PERSONAL INJURY COURTS (Elective April 16, 2018)

 

 

 

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Tab E: Joint List of Jury Instructions (idantifying the agreed upon and

contested Instructions)

Tab F: Joint and Contested Jury instructions

Tab G: Joint and/or Contested Verdict Form(s)

Tab H: Joint Exhibit List

Tabt; ‘Joint Chart of Page and Line Designation(s) for Deposition and Former
Testimony

Tab J: Coptes of tha Current Operative Pleadings (including the operative

complaint, answer, cross-complaint, if any, and answer to any cross-complaint).

The partles/counsel shail organize motions In Iimine (tabbed tn numerical order)
behind Tab B with the opposition.papers and reply papers for each motion placed directly
behind the moving papers. The pariles shall organize proposed jury Instructions behind
Tab F, with the agreed upon instrucllons first in ordar followed by the contested Instructlons
(including spectal instructions) submitted by each side.

§. FAILURE TO COMPLY WITH FSC OBLIGATIONS

The court has discretion to require any party/counsel who falls or refuses lo comply
with this Amended Standing Order to show cause why the Court should not Impose
monetary, evidentiary and/or issue sanctlons (including the entry of a defaull or the slriking

of an answer).
Dated’ 2 ! 8 bre TF loa Breet
; Debra K. Weintraub
Supervising Judge, Civil
. Los Angeles Suparfor Court
Page § of 5

 

 

 

FIRST AMENDEO ORDER RE FINAL STATUS CONFERENCE, PERSONAL INJURY COURTS (Effective Apr 16, 2016)

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Superior Court of California, County of Los Angeles

 

ALTERNATIVE DISPUTE RESOLUTION (ADR).
INFORMATION PACKAGE
THE PLAINTIEF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY. WITHTHE COMPLAINT,

CROSS-COMPLAINANTS imust serve this ADRinfcritiationPackage Sv‘any new parties named to the’actlon
“with-the cross-complaint. .

 

 

 

What is ADR?
AOR helps people find solutions to their tegal disputes without going to trial, The main types of ADR are negotiation,

mediatian, arbitration and settlement conferences. When ADR ts done by phone or computer, It may be calted Online
Dispute Resolution (ODR). These “alternatives” to litigation and trial are deserlbed befow,

Advantages of AOR
® Saves Time: ADR ls faster than golng to trial.
@ Saves Money: Parties can save on court costs, attomey’s fees and witness fees.
* Keeps Control with the parties: Partles choose their ADR process and provider for voluntary AOR.
© Reduces stress/protects privacy: ADR is done outside the courtroom, in private offices, by phone or online.

Disadvantages of ADR
«Costs: {f the parties do not resolve thelr dispute, they may have to pay for AOR and litigatlon and trial.

e No Public Trial: AON does not provide a public trial or a decision by a Judge or fury.

Main Types of AOR;

1, Negotiation: Parties often talk with each other in person, or by phone or online about resolving thelr case with a
settlement agreement instead of a trial, If the partles have lawyers, they will negotiate for thelr cllents.

2, Mediation: tn mediation, a neutral “mediator listens to each person's concerns, helps them evaluate the
strengths and weaknesses of thelr case, and works with them to try to create a settlement agreement that ls
acceptable to all, Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

Mediation may be appropriate when the partles

= want to work out a solution but need help from a neutral person.

¢ have communication problems or strong emotions that Interfere with resolution.
Mediation may not be appropriate when the parties

* want a public trial and want a judge or jury to decide the outcome.

* tack equal bargaining power or have a history of physicaf/emotional abuse.

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How to arrange mediation In Los Angeles County
Mediation for clvil cases Is voluntary and partles may select any mediator they wish. Options include:

a. The Civil Mediation Vendor Resource Ust..
free {for selected cases) mediation In person or with ODR (by phone or online}.
o: JAMS, Ine.: Case Manager (213) 253-9776 mdawson@jamsadecom
These organizations cannot accept every case and they may déclirie cases at thelr discretion.

Visit www.lacourtore/ADR.Ags.Llst far important
NOTE: This service ls not av ie Famnilly f2

    

2 te or small claims.
‘b. Los Angeles County Olspute Resolution Programs
-Https://wdacs. wov/orogra

and, at the Stanley Mosk Courthouse, fimited civil; No appointment needed.
Free or low-cost mediations before the day of trial for these and other.case types.

 

Parties may contact these organizations to request a “Resource List Mediation” for reduced-cost or

« Mediation Center of Los Angeles: Case Manager: (833) 476-9245. info@mediationtA.org:

information an id FAQs before contacting them.

«Free, day- of- trial mediations at the courthouse for small claims, untawful detainers (evictions)

For ODR by phone‘ar computer for small clalms or unlawful detainér (eviction) cases before the

day of trial, visit
htto://www.lacourt ore/division/smaltclalms/puf/OnlineDisputeResolutignFlyer-Engspa n.pdf

ce. Mediators and AOR and Bar organizations that provide mediation may be found on the Internet.

 

 

3. Arbitration: Arbitration is less farmal than trial, but like tetal, the partles present evidence and arguments to the
person who decides the outcome. In “binding” arbitration, the arbitrator's decision ts final; there is no right to

triat. in “nonbinding” arbitration, any party can request a trial after the arbitrator's decision. For more

Information about arbitration, visit http://www.courts.ca.gov/programs-agr.htm

4, Mandatory Settlement Conferences (MSC): MSCs are ordered by the Court and are often held close to the telal
date. The parties and thelr attorneys meet with a judge or settlement officer who does not make a decision but

assists the parties in evaluating the strengths and weaknesses of the case and In negotiating a settlement,

For information about the Court's MSC programs for civil cases, visit: www.lacourt.org/division/civil/settlement

Los Angefes Superior Court ADR website: www.lacourt.org/division/civil/settlement

For general information and videos about AOR, visit http://www.courts.ca.pov/pro rams-adr.htm

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Superior Court of California
County of Los Angeles

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Sherri , Executive OMeer/Clerk
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SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES

IN RELOS ANGELES SUPERIOR COURT) FIRST AMENDED GENERAL ORDER
— MANDATORY ELECTRONIC FILING ©

FOR CIVIL

_) .

On December 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all
documents in Limited Civil cases by litigants represented by attorneys, On January 2, 2019, the Los
Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex
Unlimited Civil cases by liugants represented by attorneys. (California Rules of Court, mle 2.253(b).)
All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the
following: .

1) DEFINITIONS

a) “Bookmark” A bookmark isa PDF document navigational tool that allows the reader to
quickly locate and navigate to a designated point of interest within a document.

b) “Efiling Portal” The official court website includes a webpage, referred to as the efiling
portal, that gives litigants access to the approved Electronic Filing Service Providers.

c) “Electronic Envelope” A transaction through the electronic service provider for submission
of documents to the Court for processing which may contain one or more PDF documents
attached.

d) “Electronic Filing” Electronic Filing (eFiling) is the electronic transmission to a Court of a

document in electronic form. (California Rules of Court, rule 2.250(b)(7).)

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FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL

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“Blectronic Filing Service Provider” An Electronic Filing Service Provider (EFSP) is a
person or entity that receives an electronic filing from a party for retransmission to the Court.
In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an
agent of the Court, (California Rules of Court, rule 2.250(b)(8).)

“Blectronic Signature” For purposes of these local rules and in conformity with Code of
Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
(b)(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule
2.257, the term “Electronic Signature" is generally defined as an electronic sound, symbol, or
process attached to or logically associated with an electronic record and executed or adopted
by a person with the intent to sign the electronic record.

“Hypertink” An electronic link providing direct access from one distinctively marked place
in a hypertext or hypermedia document to another in the same or different document.
“Portable Document Format” A digital document format that preserves all fonts,
formatting, colors and graphics of the original source document, regardless of the application

platform used.

2) MANDATORY ELECT RONIC FILING

a)

b)

c)

Trial Court Records

Pursuant to Government Code section 68150, trial court records may be created, maintained,
and preserved in electronic format. Any document that the Court receives electronically must
be clerically processed and must satisfy all legal filing requirements in order to be filed as an
official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).
Represented Litigants

Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to
electronically file documents with the Court through an approved EFSP. ,

Public Notice

The Court has issued a Public Notice with effective dates the Court required parties to
electronically file documents through one or more approved EFSPs. Public Notices containing

effective dates and the list of EFSPs are available on the Court's website, at www. lacourt.org,

 

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FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL

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d) Documents in Related Cases
Documents in related cases must be electronically filed in the eFiling portal for that case type if
electronic filing has been implemented in that case type, regardless of whether the case has
been related to a Civil case.

3) EXEMPT LITIGANTS

a) Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt
from mandatory electronic filing requirements.

b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of
Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused
from filing documents electronically and be permitted to file documents by conventional
means if the party shows undue hardship or significant prejudice.

4) EXEMPT FILINGS

a) The following documents shall not be filed electronically:

i) Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
Civil Procedure sections 170.6 or 170.3; |

ii) Bonds/Undertaking documents;

iii) Trial and Evidentiary Hearing Exhibits

iv) Any ex parte application that is filed concurrently with a new complaint including those
that will be handled by a Writs and Receivers department in the Mosk courthouse; and —

v) Documents submitted conditionally under seal, The actual motion or application shall be
electronically filed. A courtesy copy of the electronically filed motion or application to
submit documents conditionally under seal must be provided with the documents
submitted conditionally under seal.

b) Lodgments
Documents attached to a Notice of Lodgment shall be lodged and/or served conventionally in

paper form. The actual document entitled, “Notice of Lodgment,” shall be filed electronically.
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FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL

 

 

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ELECTRONIC FILING SYSTEM WORKING PROCEDURES

Electronic filing service providers must obtain and manage registration information for persons

and entities electronically filing with the court.

TECHNICAL REQUIREMENTS

a) Electronic documents must be electronically filed in PDF, text searchable format when
technologically feasible without impairment of the document’s image.

b) The table of contents for any filing must be bookmarked.

c) Electronic documents, including but not limited to, declarations, proofs of service, and
exhibits, must be bookmarked within the document pursuant to Califomia Rules of Court, rule
3.1110(£)(4). Electronic bookmarks must include links to the first page of each bookmarked
item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the
bookedmarked item and briefly describe the item.

ad Attachments to primary documents must be bookmarked. Examples include, but are not
limited to, the following:

i) Depositions,

ii) Declarations;

iti) Exhibits (including exhibits to declarations);

iv) Transcripts (including excerpts within transcripts);
v) Points and Authorities;

vi) Citations; and

vii) Supporting Briefs.

e) Use of hyperlinks within documents (including attachments and exhibits) is strongly
encouraged.

f) Accompanying Documents
Each document acompanying a single pleading must be electronically filed as a separate
digital PDF document.

g) Multiple Documents

Multiple documents relating to one case can be uploaded in one envelope transaction.

 

 

 

 

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h) Writs and Abstracts
Writs and Abstracts must be submitted as a separate electronic envelope.
i) Sealed Documents

If and when a judicial officer orders documents to be filed under seal, those documents must be

filed electronically (unless exempted under paragraph 4); the burden of accurately designating

the documents as sealed at the time of electronic submission is the submitting party's
responsibility.
j) Redaction
Pursuant to California Rules of Court, rule 1.201, it is the submitting party’s responsibility to
redact confidential information (such as using initials for names of minors, using the last four
digits of a social security number, and using the year for date of birth) so that the information
shall not be publicly displayed.
7) ELECTRONIC FILING SCHEDULE
a) Filed Date

i) Any document received electronically by the court between 12:00 am and 11:59:59 pm
shall be deemed to have been effectively filed on that court day if accepted for filing. Any
document received electronically on a non-court day, is deemed to have been effectively
‘filed on the next court day if accepted. (California Rules of Court, tule 2.253(b)(6), Code
Civ. Proc. § 1010.6(b)(3).)

ii) Notwithstanding any other provision of this order, if a digital document is not filed in due
course because of: (1) an interruption in service; (2) a transmission error that is not the ,
fault of the transmitter; or (3) a processing failure that occurs after receipt, the Court may
order, either on its own motion or by noticed motion submitted with a declaration for Court
consideration, that the document be deemed filed and/or that the document’s filing date
conform to the attempted transmission date,

8) EX PARTE APPLICATIONS
a) Ex parte applications and all documents in support thereof must be electronically filed no later

than 10:00 a.m. the court day before the ex parte hearing.

 

 

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FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL

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b) Any written opposition to an ex parte application must be electronically filed by 8:30 a.m. the
day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte
application must be provided to the court the day of the ex parte hearing.

9) PRINTED COURTESY COPIES

a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must
be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If
the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
by 10:00 a.m. the next business day.

b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of

"  glectronic submission) is required for the following documents:
i) Any printed document required pursuant to a Standing or General Order;
ii) Pleadings and motions (including attachments such as declarations and exhibits) of 26
pages or more;
iii) Pleadings and motions that include points and authorities;
iv) Demurters;
v)  Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;
vi) Motions for Summary J udgment/Adjudication; and
vii) Motions to Compel Further Discovery.

c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
additional documents. Courtroom specific courtesy copy guidelines can be found at
www.lacourlorg on the Civil webpage under “Courtroom Information.”

10) WAIVER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS

a) Fees and costs associated with electronic filing must be waived for any litigant who has
received a fee waiver. (California Rules of Court, rules 2.253(b)(), 2.258(b), Code Civ. Proc. §
1010.6(d)(2).)

b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(f), may be

electronically filed in any authorized action or proceeding.

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FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL

 

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11) SIGNATURES ON ELECTRONIC FILING
For purposes of this General Order, all electronic filings must be in compliance with California
Rules of Court, rule 2.257. This General Order applies to documents filed within the Civil

Division of the Los Angeles County Superior Court.

This First Amended General Order supersedes any previous order related to electronic filing,
and is effective immediately, and is to remain in effect until otherwise ordered by the Civil

Supervising Judge and/or Presiding J udge.

  

 

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DATED: May 3, 2019 Kune Z (2 aint lV
KEVIN C. BRAZILE
Presiding Judge
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